USCA4 Appeal: 22-1280             Doc: 151                 Filed: 06/07/2023        Pg: 1 of 1
           U.S. COURT OF APPEALS FOR THE FOURTH CIRCUIT BILL OF COSTS FORM (Civil Cases)

   Directions: Under FRAP 39(a), the costs of appeal in a civil action are generally taxed against appellant if a judgment is
   affirmed or the appeal is dismissed. Costs are generally taxed against appellee if a judgment is reversed. If a judgment is
   affirmed in part, reversed in part, modified, or vacated, costs are taxed as the court orders. A party who wants costs
   taxed must, within 14 days after entry of judgment, file an itemized and verified bill of costs, as follows:

       •  Itemize any fee paid for docketing the appeal. The fee for docketing a case in the court of appeals is $500
          (effective 12/1/2013). The $5 fee for filing a notice of appeal is recoverable as a cost in the district court.
       • Itemize the costs (not to exceed $.15 per page) for copying the necessary number of formal briefs and
          appendices. (Effective 10/1/2015, the court requires 1 copy when filed; 3 more copies when tentatively
          calendared; 0 copies for service unless brief/appendix is sealed.). The court bases the cost award on the page
          count of the electronic brief/appendix. Costs for briefs filed under an informal briefing order are not recoverable.
        • Cite the statutory authority for an award of costs if costs are sought for or against the United States. See 28
           U.S.C. § 2412 (limiting costs to civil actions); 28 U.S.C. § 1915(f)(1) (prohibiting award of costs against the
           United States in cases proceeding without prepayment of fees).

   Any objections to the bill of costs must be filed within 14 days of service of the bill of costs. Costs are paid directly to
   the prevailing party or counsel, not to the clerk’s office.

                         Coalition for TJ v. Fairfax County School Board
  Case Number & Caption: ____________________________________________________________________________

                                                 Fairfax County School Board
  Prevailing Party Requesting Taxation of Costs: ___________________________________________________________

   Appellate Docketing Fee (prevailing appellants):                                $ 500
                                                             Amount Requested: ____________        Amount Allowed: ____________
                                                                                         Page
           Document                   No. of Pages                 No. of Copies         Cost               Total Cost
                                                                                        (< $.15)
                                               Allowed                      Allowed
                                                                                                                      Allowed
                             Requested        (court use      Requested    (court use               Requested
                                                                                                                   (court use only)
                                                only)                        only)
   Opening Brief                 67                              4                         0.15         $ 40.00

   Joint Appendix               4089                             4                         0.15       $ 2453.00

   Reply Brief                   36                              4                         0.15         $ 21.00



   TOTAL BILL OF COSTS:                                                                               $ 3014.00


  1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
  standard billing amount is not less than $.15 per page or, if less, I have reduced the amount charged to the lesser rate.
  2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 permits an award of costs.
  3. I declare under penalty of perjury that these costs are true and correct and were necessarily incurred in this action.

              /s/Donald B. Verrilli, Jr.
  Signature: ______________________________________                                            06/07/23
                                                                          Date: _______________________________________

                                                       Certificate of Service

  I certify that on this date I served this document as follows:
  I filed this document on CM/ECF, which provided all registered counsel with electronic service.



              /s/Donald B. Verrilli, Jr.
  Signature: ______________________________________                                            06/07/23
                                                                          Date: _______________________________________

  02/06/2018 PSC/ SCC
